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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MATTHEW ZETTLE,                               )
    Plaintiff,                                )
                                              )
v.                                            )            No. 19 cv 3057
                                              )            Hon. Judge Rowland
                                              )
THE FAKHOURI FIRM, ET. AL.,                   )
     Defendants.                              )


                                   JOINT STATUS REPORT

        Now comes the Plaintiff, Matthew Zettle, through his attorneys, LeonardMeyer LLP, and the
Defendant, The Fakhouri Firm, Et. Al. through their attorney Robert Fakhouri, and for their Joint
Status Report, state as follows:

A.      The Progress of Discovery

Written Discovery: Neither party has propounded discovery.

Oral Discovery: No depositions have been taken as of present.

B.      The Status of Briefing any Unresolved Motions

At this time, there are no pending motions.

C.      Settlement Efforts

No recent settlement discussions have taken place.

D.      Agreed Proposed Schedule

     a. Fact Discovery Deadline: August 17, 2020.

     b. Expert Reports due by September 15, 2020.

     c. All Expert Discovery and Depositions Complete by: November 16, 2020.

     d. All discovery to be completed by November 16, 2020.
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E.      Revised Discovery and Dispositive Motion Schedule

Judge Fuentes entered the discovery schedule outlined above on May 4, 2020. The parties will
follow that discovery schedule.

The Court has not yet entered a Dispositive Motion Schedule.

F.      Agreed Action Not Requiring a Court Hearing

N/A.

G.      Whether Telephonic Hearing is Necessary and Time Urgent

No.



Date: May 18, 2020                   __________


By:     s/ Michael I. Leoanrd _________________
        Michael I. Leonard/Rebecca Chacko
        Attorneys for Plaintiff

By:     s/ Robert Fakhouri                 _____
        Robert Fakhouri
        Attorney for the Defendant
